  Case 6:18-cv-01801-PGB-TBS Document 1 Filed 10/24/18 Page 1 of 6 PageID 1



                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION

Reinaldo Espinosa and
Ivonne Espinosa,

        Plaintiffs,
                                    Case Number:
v.
 QDI 1 LLC dba RAMADA INN,
      Defendant.
_________________________________________/

                       COMPLAINT AND DEMAND FOR JURY TRIAL

        1.      Plaintiffs, were employees of Defendant’s, and bring this action for unpaid wages,

and other relief under the Fair Labor Standards Act, as amended, 29 U.S.C. § 201-216 (the

“FLSA”).

        2.      Plaintiffs worked as manual laborers for Defendant and performed related, non-

exempt activities for Defendant in Seminole and Orange County, Florida.

        3.      Plaintiffs were not paid overtime for all of the hours he worked beyond 40 in a

single workweek.

        4.      Plaintiffs were engaged by Defendant to work as laborers during the three (3) years

prior to the initiation of this lawsuit.

        5.      Plaintiff Reinaldo Espinosa was hired as a manual laborer and worked in the

laundry department where he earned an hourly wage of $8.50.

        6.      Plaintiff Ivonne Espinosa was hired as a housekeeper and earned an hourly wage

of $8.50 per hour.

        7.      Plaintiffs were paid an hourly wage and did not receive a salary. Plaintiffs were

not subject to any exemptions under the FLSA.



                                                 1
  Case 6:18-cv-01801-PGB-TBS Document 1 Filed 10/24/18 Page 2 of 6 PageID 2



       8.         Defendant owns and operates a “Ramada Inn Near Convention Center.”

       9.         Defendant habitually engaged in an illegal policy of requiring Plaintiffs to work

more than 40 hours in a single workweek while not allowing them to properly record all of his

hours worked.

       10.        Defendant also engaged in the illegal practice known as "time-shaving." Defendant

acted by and through Plaintiffs’ manager and removed and/or adjusted Plaintiff's timesheets in an

effort to record less than all hours worked by Plaintiff.

       11.        Defendant engaged in time-shaving throughout the entirety of Plaintiffs’

employment. Defendant's illegal time-shaving practice affected each week of Plaintiffs’

employment.

       12.        Plaintiffs routinely worked more than 40 hours in a single workweek. However,

many of Plaintiffs’ working hours were not properly recorded or removed from Plaintiffs’

timesheets by Defendant.

       13.        Defendant failed to pay Plaintiff overtime pay at the premium rate for all hours

worked beyond 40 in a single workweek.

       14.        As a result, Plaintiffs often performed work for which they were not compensated.

Many of Plaintiffs’ hours were not recorded, therefore Plaintiffs neither received their regular rate

nor their premium, overtime rate for all hours worked.

       15.        Plaintiffs worked for Defendant in Orange County, Florida.

       16.        Instead of paying overtime wages, Defendant circumvented the FLSA by failing to

pay Plaintiffs proper wages, though Plaintiffs habitually worked up to 45 hours a week or more

since her hire.




                                                  2
  Case 6:18-cv-01801-PGB-TBS Document 1 Filed 10/24/18 Page 3 of 6 PageID 3



        17.     Plaintiffs were not always paid time and a half for all hours worked over forty in

any given week.

        18.     As of this date, Plaintiffs still have not been paid the entirety of their wages and

have not been compensated for the full extent of his damages and wage loss under the FLSA.

        19.     It is believed that there are similarly situated employees who were also not paid the

full extent of their overtime at the correct rate of pay and who were also subject to the exact same

unlawful pay practices, i.e. requiring employees to perform manual labor without being

compensated at the proper rate.

        20.     Plaintiffs seek full compensation, including liquidated damages because

Defendant’s conduct in adjusting/removing Plaintiffs hours on their timesheets and forcing them

to work off the clock, was a calculated attempt to extract more additional work out of Plaintiffs for

Defendant’s exclusive benefit.

        21.     Defendant is a for profit corporation that operates and conducts business in, among

others, Orange County, Florida, and is therefore, within the jurisdiction of the Court.

        22. Defendant, at all relevant times to this complaint, was Plaintiffs’ employer as defined

by 29 U.S.C. § 203(d). Plaintiff performed duties and responsibilities that involved commerce

and/or the production of goods for commerce in the hotel industry as Defendant operates as

“Ramada Inn Near Convention Center” dealing with interstate customers and using computers and

credit cards and data transmission lines. This also would include using materials and other

resources that do not originate within the State of Florida to operate a facility that is designed to

cater to tourist from out of state.

        23. This action is brought under the FLSA to recover from Defendant, unpaid wages in

the form of overtime wages, liquidated damages, and reasonable attorneys’ fees and costs.




                                                  3
 Case 6:18-cv-01801-PGB-TBS Document 1 Filed 10/24/18 Page 4 of 6 PageID 4



       24. The Court has jurisdiction over Plaintiffs’ claims as all material events transpired in

Orange County, including those brought pursuant to 28 U.S.C. § 1337 and the FLSA.

       25. At all material times relevant to this action, Defendant was an enterprise covered by

the FLSA, and as defined by 29 U.S.C. § 203(r) and 203(s). Upon information and belief,

including Plaintiff’s experience with Defendant as well as the sheer size of Defendant’s

organization suggest that the Defendant are a multi-million-dollar operation that has considerable

expertise in the real estate industry. Accordingly, Plaintiff alleges that enterprise coverage is

present in this case because Defendant has an annual volume of at least $500,000.00 in revenue

and has two or more employees that handle goods in commerce, including materials and supplies,

whom also use telephones, fax machines and other instrumentalities of commerce.

       26. At all material times relevant to this action, Plaintiffs in their capacities as employees

were individually covered by the FLSA. This would include to doing hourly work as a laborer,

without managerial responsibility. Plaintiff did not bear supervisory responsibility for any other

employees. Plaintiff did not regularly direct the hiring and firing of any employees. Plaintiff did

not participate in the creation of budgets or maintain the production of sales nor did Plaintiff plan

or control the budget of the Defendant’s in any way. Plaintiffs did not implement legal compliance

measures.

       27. At all times relevant to this action, Defendant failed to comply with 29 U.S.C. §§ 201-

209, because Plaintiffs performed services for Defendant for which no provisions were made by

Defendant to properly pay Plaintiffs for all hours worked during their employment. Plaintiffs

worked over 40 hours per nearly every week during their employment with Defendant. The off the

clock work that Plaintiffs were directed to do was intentional and was designed to extract

additional hours of labor out of Plaintiffs for the benefit of the Defendant, who then refused to pay




                                                 4
 Case 6:18-cv-01801-PGB-TBS Document 1 Filed 10/24/18 Page 5 of 6 PageID 5



Plaintiffs and those similarly situated premium wages. Notably, Defendant is in exclusive

possession of the majority of relevant records in this case, including payroll records and schedules

and other documentation that might reasonably assist Plaintiffs with providing even greater

specificity regarding the precise weeks that Plaintiffs worked more than 40 hours. Plaintiffs allege

that they routinely worked in excess of 40 hours per week, including time for which Defendant

made no provisions to properly record.

         28. Defendant failed, refused and/or neglected to keep accurate time records pursuant to

29 U.S.C. § 211(c) of Plaintiff’s, and others similarly situated to her, true hours of work.

           COUNT I – RECOVERY OF OVERTIME WAGES COMPENSATION

         29. Plaintiffs reincorporate and readopt all allegations contained within Paragraphs 1-28,

above.

         30. Plaintiffs are/were entitled to be paid their regular rate of pay for each hour worked

per work week as well as premium wages for those hours worked over forty in a single week.

During their employment with Defendant, Plaintiffs regularly worked more than 40 hours in a

single week.

         31. Plaintiffs were not paid at the correct rate of pay for hours worked over 40 in a single

week. Plaintiffs routinely performed labor, at Defendant’s specific request for the sole benefit of

Defendant and were not paid for the hours he worked.

         32. As a result of Defendant’s intentional, willful, and unlawful acts in refusing to pay

Plaintiffs their correct premium rate of pay for each hour worked beyond 40 in one or more work

weeks, Plaintiffs have suffered damages plus incurring reasonable attorneys’ fees and costs.

         33. As a result of Defendant’s willful violation of the FLSA, Plaintiff are entitled to

payment of the unpaid wages under Florida law, as well as liquidated damages under the FLSA.




                                                  5
 Case 6:18-cv-01801-PGB-TBS Document 1 Filed 10/24/18 Page 6 of 6 PageID 6



                          COUNT II – RECOVERY OF MINIMUM WAGES

         34. Plaintiff reincorporates and readopts all allegations contained within Paragraphs 1-28,

above.

         35. Plaintiffs were employed by Defendant and were, at all times, protected by the FLSA.

         36. Plaintiffs were entitled to receive at least minimum wage for all hours worked for

Defendant.

         37. Defendant engaged in an illegal policy of not paying Plaintiffs at least minimum wage

for all hours worked.

         38. Plaintiff often earned significantly less than minimum wage for all hours worked.

         39. As a result of Defendant’s willful violation of the FLSA, Plaintiff is entitled to payment

of the unpaid wages.

         40. Plaintiffs demand a trial by jury.

         WHEREFORE, Plaintiffs demand judgment against Defendant, including, but not limited

to, reimbursement of an amount equal to the loss of wages and liquidated damages, together with

costs and attorney’s fees pursuant to the FLSA, and such other further relief as this Court deems

just and proper.

DATED this 24th day of October, 2018,


                                                        /S/ Kyle J. Lee
                                                        Kyle J. Lee, Esq.
                                                        FLBN: 105321
                                                        LEE LAW, PLLC
                                                        P.O. Box 4476
                                                        Brandon, FL 33509-4476
                                                        Telephone: (813) 343‐2813
                                                        Kyle@KyleLeeLaw.com




                                                   6
